                             1   Robert A. Julian (SBN 99469)
                                 Cecily A. Dumas (SBN 111449)
                             2   BAKER & HOSTETLER LLP
                                 1160 Battery Street, Suite 100
                             3   San Francisco, CA 94111
                                 Telephone:     628.208.6434
                             4   Facsimile:     310.820.8859
                                 Email: rjulian@bakerlaw.com
                             5   Email: cdumas@bakerlaw.com
                             6   Eric E. Sagerman (SBN 155496)
                                 Lauren T. Attard (SBN 320898)
                             7   BAKER & HOSTETLER LLP
                                 11601 Wilshire Boulevard, Suite 1400
                             8   Los Angeles, CA 90025
                                 Telephone:    310.820.8800
                             9   Facsimile:    310.820.8859
                                 Email: esagerman@bakerlaw.com
                            10   Email: lattard@bakerlaw.com
                            11   Counsel for Official Committee of Tort Claimants
B AKER & H OSTE TLER LLP




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                                                          UNITED STATES BANKRUPTCY COURT
                            13                            NORTHERN DISTRICT OF CALIFORNIA
                                                               SAN FRANCISCO DIVISION
                            14
                                 In re:                                         Bankruptcy Case
                            15                                                  No. 19-30088 (DM)
                                 PG&E CORPORATION
                            16                                                  Chapter 11
                                          -and-                                 (Lead Case)
                            17                                                  (Jointly Administered)
                                 PACIFIC GAS AND ELECTRIC
                            18   COMPANY,
                                                     Debtors.                   AMENDED NOTICE OF HEARING ON
                            19                                                  MOTION OF THE OFFICIAL COMMITTEE
                                 □ Affects PG&E Corporation                     OF TORT CLAIMANTS PURSUANT TO 11
                            20                                                  U.S.C. §§ 105(a) AND 501 AND FED. R.
                                 □ Affects Pacific Gas and Electric             BANKR. P. 3001(a) FOR ENTRY OF AN
                            21                                                  ORDER APPROVING PROPOSED MODEL
                                 Company                                        PROOF OF CLAIM FORM FOR FIRE
                            22                                                  CLAIMS AND RELATED PROCEDURES
                                 ■ Affects both Debtors                         (DKT. NO. 1824)
                            23
                                 *All papers shall be filed in the Lead         Date:    June 26, 2019
                            24   Case, No. 19-30088 (DM)                        Time:    9:30 a.m. (Pacific Time)
                                                                                Place:   United States Bankruptcy Court
                            25                                                           Courtroom 17, 16th Floor
                                                                                         San Francisco, CA 94102
                            26
                                                                                Objection Deadline: June 19, 2019
                            27                                                                      4:00 p.m. (Pacific Time)
                            28


                           Case: 19-30088         Doc# 2448   Filed: 06/07/19    Entered: 06/07/19 11:39:25     Page 1 of
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                             1          PLEASE TAKE NOTICE that on January 29, 2019 (the “Petition Date”), PG&E
                                 Corporation and Pacific Gas and Electric Company, as debtors and debtors in possession
                             2   (the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”), each filed a
                                 voluntary petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy
                             3   Code”) with the United States Bankruptcy Court for the Northern District of California (San
                                 Francisco Division) (the “Bankruptcy Court”).
                             4
                                        PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court will hold a hearing on
                             5   June 26, 2019 at 9:30 a.m. (Pacific Time) (the “Omnibus Hearing”) in the courtroom of the
                                 Honorable Dennis Montali, United States Bankruptcy Judge, Courtroom 17, 16th Floor, 450
                             6   Golden Gate Avenue, San Francisco, California 94102.
                             7          PLEASE TAKE FURTHER NOTICE that, in addition to any other matters scheduled for
                                 the Omnibus Hearing, the Bankruptcy Court is scheduled to hear the Motion of the Official
                             8   Committee of Tort Claimants Pursuant to 11 U.S.C. §§ 105(a) and 501 and Fed. R. Bankr.
                                 P. 3001(a) for Entry of an Order Approving Proposed Model Proof of Claim Form for Fire Claims
                             9   and Related Procedures (the “Motion”).
                            10          PLEASE TAKE FURTHER NOTICE that any oppositions or responses to the Motion
                                 must be in writing, filed with the Bankruptcy Court, and served on the counsel for the Official
                            11   Committee of Tort Claimants at the above-referenced addresses so as to be received by no later
                                 than 4:00 p.m. (Pacific Time) on June 19, 2019. Any oppositions or responses must be filed and
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                            12   served on all “Standard Parties” as defined in, and in accordance with, the Amended Order
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                                 Implementing Certain Notice and Case Management Procedures entered on March 27, 2019 (EFC
                            13   No. 1093) (“Case Management Order”). Any relief requested in the Motion may be granted
                                 without a hearing if no opposition is timely filed and served in accordance with the Case
                            14   Management Order. In deciding the Motion, the Court may consider any other document filed in
                                 these Chapter 11 Cases and related adversary proceedings.
                            15
                                         PLEASE TAKE FURTHER NOTICE that copies of the Motion and its supporting papers
                            16   can be viewed and/or obtained:                 (i) by accessing the Court’s website at
                                 http://www.canb.uscourts.gov, (ii) by contacting the Office of the Clerk of the Court at 450 Golden
                            17   Gate Avenue, San Francisco, CA 94102, or (iii) from the Debtors’ notice and claims agent, Prime
                                 Clerk LLC, at http://restructuring.primeclerk.com/pge, or by calling (844) 339-4217 (toll free) for
                            18   U.S.-based parties; or +1 (929) 333-8977 for international parties, or by e-mail at:
                                 pginfo@primeclerk.com. Note that a PACER password is needed to access documents on the
                            19   Bankruptcy Court’s website.
                            20   Dated: June 7, 2019
                                                                                      BAKER & HOSTETLER LLP
                            21
                                                                                      By:     /s/ Eric R. Goodman
                            22                                                                Eric R. Goodman
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